           Case 2:14-cr-00321-GMN-NJK         Document 68        Filed 12/05/14     Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                                           DISTRICT OF NEVADA
 9
10
     UNITED STATES OF AMERICA,                           )
11                                                       )
                           Plaintiff,                    )       Case No. 2:14-cr-00321-KJD-NJK
12                                                       )
     vs.                                                 )       ORDER DENYING EX PARTE
13                                                       )       MOTION WITHOUT PREJUDICE
     KEITH WILLIAMS,                                     )       AND SETTING HEARING
14                                                       )
                           Defendant.                    )       (Docket No. 58)
15                                                       )
16           On November 20, 2014, Defendant Keith Williams filed a sealed ex parte motion. Docket No. 58.
17 While the Court will not disclose the contents of the motion, the motion raises a question regarding
18 Defendant’s competency. The Court therefore has a statutory duty to determine whether there is
19 “reasonable cause to believe that the defendant may presently be suffering from a mental disease or defect
20 rendering him mentally incompetent to the extent that he is unable to understand the nature and
21 consequences of the proceedings against him or to assist properly in his defense.” 18 U.S.C. § 4241(a).
22           Accordingly, the Court hereby SETS a hearing for December 11, 2014, at 1:30 p.m., in LV
23 Courtroom 3B. Defendant, Defendant’s counsel and counsel for the United States shall be present at the
24 hearing. At the hearing, the Court will determine whether it will order a psychiatric or psychological
25 examination of Defendant to determine his competency, pursuant to 18 U.S.C. § 4241(b), and a further
26 hearing pursuant to 18 U.S.C. §§ 4241(c), 4247(d).
27 . . . .
28 . . . .
        Case 2:14-cr-00321-GMN-NJK          Document 68      Filed 12/05/14     Page 2 of 2



 1         Defendant’s sealed ex parte motion (Docket No. 58), is DENIED without prejudice. Defendant
 2 may renew the motion, if he chooses, after the December 11, 2014, hearing.
 3         IT IS SO ORDERED.
 4         DATED: December 5, 2014.
 5
 6                                             ______________________________________
                                               NANCY J. KOPPE
 7                                             United States Magistrate Judge
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     2
